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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                   Case No. 1:15-cr-00218
                                    )
v.                                  )                   Honorable Janet T. Neff
                                    )
YUNIER CUDELLO-ALBELO,              )
                                    )
            Defendant.              )
____________________________________)


                             REPORT AND RECOMMENDATION

        Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned case on

March 28, 2016, after receiving the written consent of defendant and all counsel. At the hearing,

defendant Yunier Cudello-Albelo entered a plea of guilty to count 1 of the Indictment in exchange

for the undertakings made by the government in the written plea agreement. In count 1 of the

Indictment, defendant is charged with conspiracy to commit fraud in violation of 18 U.S.C. §§ 1349

and 1343. On the basis of the record made at the hearing, I find that defendant is fully capable and

competent to enter an informed plea; that the plea is made knowingly and with full understanding

of each of the rights waived by defendant; that it is made voluntarily and free from any force,

threats, or promises, apart from the promises in the plea agreement; that the defendant understands

the nature of the charge and penalties provided by law; and that the plea has a sufficient basis in fact.

        Accordingly, I recommend that defendant's plea of guilty to count 1 of the Indictment be

accepted, that the court adjudicate defendant guilty, and that the written plea agreement be
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considered for acceptance at the time of sentencing. Acceptance of the plea, adjudication of guilt,

acceptance of the plea agreement, and imposition of sentence are specifically reserved for the district

judge.



Date: March 28, 2016                                    /s/ Phillip J. Green
                                                       PHILLIP J. GREEN
                                                       United States Magistrate Judge




                                      NOTICE TO PARTIES

       You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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